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IN 'I'HE UNITED STATES DISTRICT COURT
FoR THE wESTERN DISTRICT oF TENNESSEEUSHM _2 PH w 142
wEsTERN DIVISION ’
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MARILYN JOHNSON, et al.,

Plaintiffs,
vs. civ. No. 00-2603-13;1="/
&
CITY OF MEMPHIS, 04-2017-DZP

Defendant.

 

FLORENCE BILLINGSLEY, et al.;
Plaintiff’s,
vs.

Civ. NO. 04-2013-D[An

CITY OF MEMPHIS,

vvvvvvyyvvvvvvvyyvvvvv

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO STRIKE REBUTTAL REPORT OF
PLAINTIFFS' EXPERT AND GRANTING DEFENDANT'S MOTION TO EXTEND TIME
TO RESPOND TO REBUTTAL REPORT

 

Before the court is Defendant City of Memphis‘s Motion to
Strike Rebuttal Report of Plaintiffs‘ Expert Or, Alternatively,
Motion to Extend Time to Respond to Rebuttal Report, filed March 9,
2005 (dkt #314). On. March. 22, 2005, Plaintiffs filed their
response to the motion. On April 19, 2005, the motion was referred

to the Magistrate Judge for determination. ')X>

Th!e document entered on the docket Mco ll §§
with Rule 58 and/or 79(a) FRCP on .

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The sole basis for Defendant's motion to strike is that the
supplemental report of Plaintiffs' expert, provided to Defendant on
February 7, 2005, is untimelyz Defendant contends that the
supplemental report should have been disclosed Within thirty days
after the Defendant made its expert disclosure. Plaintiffs, on the
other hand, argue that the supplemental report is timely under Rule
26(a)(2)(C) and (e)(l). The court need not resolve this dispute,
because even assuming, arguendo, that the supplemental report is
not timely, the court finds good cause under Rule 16(b)(6) to
modify the scheduling order to allow the disclosure. Defendant's
expert was not deposed until October 2004, and since then, has
filed affidavits in October and December 2004. The supplemental
report addresses issues raised in Defendant's expert report as well
as the subsequently filed affidavits. Therefore, the motion to
strike is DENIED.

The court further GRANTS Defendant's motion to extend time to
respond to the Plaintiffs' supplemental report. Defendant shall

have until May 30, 2005, to supplement its expert report.

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TU"M. PHAM`
United States Magistrate Judge

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IT IS SO ORDERED.

Date

 

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This notice confirms a copy of the document docketed as number 335 in
case 2:00-CV-02608 Was distributed by fax, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

